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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                Clarksburg Division

                                              )
LEONARD AND                                   )
STEPHANIE CARROLL,                            )
                                              )
               Plaintiffs,                    )
                                              )
       v.                                     )       Case No. 1:23CV57 (TSK/MJA)
                                              )
KENDRA ROSS,                                  )
                                              )
               Defendant.                     )
                                              )

                             DEFENDANT’S MOTION TO DISMISS

       Defendant Kendra Ross (“Ross”), pursuant to Fed. R. Civ. P. 12(b) and L.R. Civ. P.

7.02(a), moves to dismiss the complaint filed by Plaintiffs Leonard and Stephanie Carroll

(collectively, the “Carrolls”). Because the Rooker-Feldman doctrine squarely applies to the

Carrolls’ complaint, the Court lacks subject matter jurisdiction and should dismiss this case under

Fed. R. Civ. P. 12(b)(1). Additionally, process was insufficient under Fed. R. Civ. P. 12(b)(4),

and service was insufficient under Fed. R. Civ. P. 12(b)(5). Because service was improper, the

Court lacks personal jurisdiction over Ross and should also dismiss this case under Fed. R. Civ. P.

12(b)(2). Finally, the Carrolls fail to state a claim under Fed. R. Civ. P. 12(b)(6). Wherefore, Ross

asks the Court to dismiss the Carrolls’ complaint, award Ross reasonable attorneys’ fees and

expenses, and grant all other relief that the Court deems proper.
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Dated: August 3, 2023                         Respectfully submitted,
                                              KENDRA ROSS
                                              By Counsel

                                              s/ Brooks H. Spears
                                              Brooks H. Spears (WV Bar No. 12820)
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                                CERTIFICATE OF SERVICE

       I certify that, on August 3, 2023, I caused the foregoing document to be filed via the Court’s

CM/ECF system, which will send notice to all counsel of record, and that I caused the foregoing

document to be sent via certified mail, return receipt requested, to Plaintiffs at 1213 Cash Valley

Road, Eglon, WV 26716.

                                              s/ Brooks H. Spears
                                              Brooks H. Spears (WV Bar No. 12820)




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